UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
-----------------------------------------------------------   X
ELLEN MCCORMICK                                               :   18-CV-00916(ENV)(SJB)
                                                              :
                             Plaintiff,                       :
                                                              :   CERTIFICATE OF DEFAULT
                -against-                                     :
                                                              :
PHINIZY & PHEBE HANDMADE LLC (d/b/a                           :
PHIN & PHEBES ICE CREAM), CRISTA                              :
FREEMAN, AND JESS EDDY,                                       :
                                                              :
                                Defendants.                   :
-----------------------------------------------------------   X


         I, Douglas C. Palmer, Clerk of Court of the United States District Court for the Eastern

District of New York, do hereby certify that Defendant Phinizy & Phebe Handmade LLC (d/b/a

Phin & Phebes Ice Cream) (“Defendant”) has not filed an answer or otherwise moved with respect

to the complaint herein. The default of Defendant is hereby noted pursuant to Rule 55(a) of the

Federal Rules of Civil Procedure.




Dated:     November 2, 2018
           Brooklyn, New York

                                                                      Douglas C. Palmer



                                                                      Clerk of Court
